Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 1 of 43 PageID #:3968
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 2 of 43 PageID #:3969
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 3 of 43 PageID #:3970
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 4 of 43 PageID #:3971
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 5 of 43 PageID #:3972
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 6 of 43 PageID #:3973
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 7 of 43 PageID #:3974
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 8 of 43 PageID #:3975
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 9 of 43 PageID #:3976
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 10 of 43 PageID #:3977
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 11 of 43 PageID #:3978
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 12 of 43 PageID #:3979
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 13 of 43 PageID #:3980
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 14 of 43 PageID #:3981
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 15 of 43 PageID #:3982
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 16 of 43 PageID #:3983
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 17 of 43 PageID #:3984
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 18 of 43 PageID #:3985
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 19 of 43 PageID #:3986
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 20 of 43 PageID #:3987
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 21 of 43 PageID #:3988
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 22 of 43 PageID #:3989
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 23 of 43 PageID #:3990
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 24 of 43 PageID #:3991
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 25 of 43 PageID #:3992
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 26 of 43 PageID #:3993
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 27 of 43 PageID #:3994
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 28 of 43 PageID #:3995
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 29 of 43 PageID #:3996
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 30 of 43 PageID #:3997
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 31 of 43 PageID #:3998
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 32 of 43 PageID #:3999
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 33 of 43 PageID #:4000
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 34 of 43 PageID #:4001
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 35 of 43 PageID #:4002
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 36 of 43 PageID #:4003
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 37 of 43 PageID #:4004
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 38 of 43 PageID #:4005
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 39 of 43 PageID #:4006
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 40 of 43 PageID #:4007
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 41 of 43 PageID #:4008
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 42 of 43 PageID #:4009
Case: 1:01-cv-01823 Document #: 314 Filed: 08/28/07 Page 43 of 43 PageID #:4010
